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     SO. CAL. EQUAL ACCESS GROUP
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     GURI GONZALEZ
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     GURI GONZALEZ,                                    Case No.: 2:24-cv-00521-SVW (JCx)
11
12                Plaintiff,                           NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
13         vs.                                         WITH PREJUDICE
14
     LOTUS SLIPPER, INC. D/B/A VAMP;
15   STEVEN KERIAN, AS TRUSTEE OF
16   THE KERIAN FAMILY TRUST; and
     DOES 1 to 10,
17
                  Defendants.
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19
20         PLEASE TAKE NOTICE that Plaintiff GURI GONZALEZ (“Plaintiff”)
21   pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
22   the entire action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)
23   which provides in relevant part:
24         (a) Voluntary Dismissal.
25                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                         and any applicable federal statute, the plaintiff may dismiss an action
27
                         without a court order by filing:
28


                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
     Case 2:24-cv-00521-SVW-JC     Document 15       Filed 02/22/24   Page 2 of 2 Page ID
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: February 22, 2024              SO. CAL. EQUAL ACCESS GROUP
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10                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
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                                                 Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
